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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL MINUTES—GENERAL
Case No. CV 19-8902-GW-MAAx Date _April 22, 2020
Title Jeffrey Sulitzer, D.M_D., et al. v. Joseph Tippins, et al. Page 1 of2

 

 

Present: The Honorable GEORGE H. WU, UNITED STATES DISTRICT JUDGE

 

 

 

Javier Gonzalez None Present
Deputy Clerk Court Reporter
Attorneys Present for Plaintiff(s) Attorneys Present for Defendant(s)
None Present None Present

Proceedings: INCHAMBERS - ORDER

Defendants’ Motion to Dismiss came on for hearing on March 2, 2020, where the Court
initially provided the parties with a tentative ruling which indicated that the Court was inclined to
grant the motion to dismiss as to four of the five causes of action — i.e. 1) violation of Federal
Sherman Antitrust Act (15 U.S.C. § 1, et seq.); 2) violation of Dormant Commerce Clause (U.S.
Const., art. I, § 8, cl. 3) pursuant to 28 U.S.C. § 1343 and 42 U.S.C. § 1983; 3) violation of Equal
Protection Clause (U.S. Const., amend. XIV) pursuant to 28 U.S.C. § 1343 and 42 U.S.C. § 1983;
and 4) violation of Substantive Due Process (U.S. Const., amend. XIV) pursuant to 28 U.S.C. §
1343 and 42 U.S.C. § 1983. See Docket No. 26. As to the fifth cause of action for violation of
California’s Unfair Competition Law (Cal. Bus. & Prof. Code § 17200), the Court indicated that
its ruling on that claim would be dependent in part on its ultimate ruling on the prior four causes
of action and whether it elects to exercise supplement jurisdiction over that state claim. As to the
dismissals, the Court indicated in the tentative that they would be with leave to amend as to the
antitrust and substantive due process claims, but without leave as to the equal protection clause
and dormant commerce clause claims.

Following the oral argument, the Court gave leave to Plaintiffs to provide the Court with
an offer of proof as to their proposed amendments regarding the equal protection and dormant
commerce clause claims. See Docket No. 26. Plaintiffs filed their Offer of Proof (Docket No. 33);
the Defendants have filed a response (Docket No. 39); and the Plaintiffs have filed a Reply (Docket
No. 41) — all of which the Court has considered.

For the reasons stated in the tentative ruling and on the record at the hearing, the Court
adopts its tentative ruling as its final decision on the motion to dismiss except as noted herein. The
motion is granted as to the first four causes of action. The dismissal will be with leave to amend
except as to the equal protection claim, which will be without leave to amend.

As to the dormant clause cause of action the Court still finds that claim extremely
problematic in part because Plaintiffs’ alleged facts are still nebulous as to the precise conduct or
situation that gives rise to the violation of that clause. For example, Plaintiffs cite to N. Carolina

 

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UNITED STATES DISTRICT COURT
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CIVIL MINUTES—GENERAL

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State Bd. of Dental Exam’rs v. FTC, 574 U.S. 494 (2015), in regards to a state dental board’s
issuing cease and desist letters to non-dentists who were performing teeth whitening
services. However, that case concerned antitrust problems and did not raise the dormant
commerce clause at all. In the present case, Plaintiffs have seemingly only alleged the initiation
of investigations (albeit purportedly overzealous ones and supposedly for bad reasons) and the
initiation of a disciplinary proceeding against one of the Plaintiffs. Compare Nat’] Ass’n of
Optometrists & Opticians Lenscrafters, Inc. v. Brown, 567 F.3d 521 (9th Cir. 2009) (plaintiffs
raised a dormant commerce clause challenge as to state statutes and regulations governing the
relationship between state licensed optometrists and non-licensed opticians).
Plaintiffs shall file their amended complaint by May 18, 2020.

 

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